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                                  1                               UNITED STATES DISTRICT COURT
                                  2                              CENTRAL DISTRICT OF CALIFORNIA

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                                  4
                                  5       James Shayler,                             2:21-cv-00166-VAP-AGRx
                                  6                       Plaintiff,
                                                                                        Order GRANTING Motion for
                                  7                       v.                            Attorneys’ Fees and Costs IN
                                  8       10616 Pico, LLC, et al.,
                                                                                                    PART
                                                                                                  (Dkt. 26)
                                  9                       Defendant.
                                 10
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United States District Court




                                 11
                                 12         Before the Court is Plaintiff James Shayler’s (“Plaintiff”) Motion for
                                 13   Attorneys’ Fees and Costs (“Motion”). After considering all the papers filed
                                 14   in support of, and in opposition to, the Motion, the Court deems this matter
                                 15   appropriate for resolution without a hearing pursuant to Local Rule 7-15.
                                 16   The Court GRANTS the Motion IN PART.
                                 17
                                 18                                    I. BACKGROUND
                                 19         On January 8, 2021, Plaintiff filed a Complaint against Defendant
                                 20   10616 Pico, LLC (“Defendant”) alleging violations under the Unruh Act and
                                 21   Title III of the Americans with Disabilities Act (“ADA”). (Dkt. 1). Plaintiff
                                 22   alleged that Defendant’s place of business had unlawful architectural
                                 23   barriers related to parking, route(s) of travel, and directional signage. (Id.)
                                 24   Although Defendant was served with the Summons and Complaint on
                                 25   February 6, 2021, (Dkt. 9), he failed to answer. The Clerk thereafter entered
                                 26   a Default against Defendant on March 12, 2021. (Dkt. 13). The Court

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                                  1   declined to exercise supplemental jurisdiction over Plaintiff’s Unruh Act
                                  2   claim and dismissed it without prejudice on April 20, 2021. (Dkt. 19).
                                  3   Plaintiff filed an Application for Default Judgment (“Default Judgment”)
                                  4   against Defendant on April 15, 2021 (Dkt. 16), and the Court granted the
                                  5   Default Judgment on September 28, 2021. (Dkt. 24). Plaintiff then filed the
                                  6   present Motion on October 12, 2021, requesting $10,022 in attorneys’ fees
                                  7   and costs. (Dkt. 26).
                                  8
                                  9                            II.    LEGAL STANDARD
                                 10         Section 505 of the ADA provides that "in any action or administrative
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                                 11   proceeding commenced pursuant to [the ADA], the court or agency, in its
                                 12   discretion, may allow the prevailing party . . . a reasonable attorney’s fee,
                                 13   including litigation expenses, and costs." 42 U.S.C. § 12205. A prevailing
                                 14   party is also entitled to reasonable attorneys' fees under the Rehabilitation
                                 15   Act, California's Unruh Civil Rights Act, and California law concerning
                                 16   access for disabled persons. 29 U.S.C. § 794a(b); Cal. Civ. Code §§
                                 17   52(b)(3), 55. Once a court determines that an applicant is a prevailing party
                                 18   who should be awarded attorneys' fees, it must next determine what fees
                                 19   are reasonable. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).
                                 20
                                 21         The “Supreme Court's longstanding rule [is] that fees are awarded to
                                 22   prevailing parties in civil rights cases—including ADA cases—according to
                                 23   the lodestar method.” Vogel v. Harbor Plaza Ctr., LLC, 893 F.3d 1152, 1161
                                 24   (9th Cir. 2018) (Christen, J., concurring). Under the lodestar approach,
                                 25   “[e]ach attorney's reasonable hourly rate is determined, and then that rate is
                                 26   multiplied by the hours reasonably spent in achieving plaintiff's victory. The

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                                  1   result is the lodestar, which may be adjusted up or down to determine an
                                  2   appropriate award in the individual case.” Muniz v. United Parcel Serv., Inc.,
                                  3   738 F.3d 214, 222 (9th Cir. 2013) (internal citations omitted).
                                  4
                                  5                                III.   DISCUSSION
                                  6    A. Rule 68 Applicability
                                  7         As a preliminary matter, Defendant asserts that it served a Rule 68
                                  8    offer upon Plaintiff on February 1, 2021, and that Plaintiff’s attorneys’ fees
                                  9    cannot accrue past this date. (Opposition, “Opp’n,” Dkt. 29, at 8). Plaintiff
                                 10    contends that the Rule 68 offer does not apply because 1) the Court
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                                 11    declined to exercise Supplemental Jurisdiction over Plaintiff’s Unruh Act
                                 12    claim and 2) the Rule 68 offer was defectively served. (Motion, at 9-10).
                                 13
                                 14         Rule 68(a) provides that:
                                 15                At least 14 days before the date set for trial, a party
                                 16            defending against a claim may serve on an opposing party
                                 17            an offer to allow judgment on specified terms, with the
                                 18            costs then accrued. If, within 14 days after being served,
                                 19            the opposing party serves written notice accepting the of-
                                 20            fer, either party may then file the offer and notice of ac-
                                 21            ceptance, plus proof of service. The clerk must then enter
                                 22            judgment. Fed. R. Civ. P. 68(a).
                                 23
                                 24      If a plaintiff chooses not to accept a Rule 68 offer, its ability to recover
                                 25   costs later in the proceedings may be limited. “If a Rule 68 offer of
                                 26   judgment is not accepted, and the judgment that the plaintiff finally obtains is

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                                  1   not more favorable than the unaccepted offer, ‘a plaintiff...must bear its own
                                  2   and the defendant's post-offer costs.’ Van v. Language Line, LLC, No. 14-
                                  3   CV-03791-LHK, 2016 WL 5339805, at *4 (N.D. Cal. Sept. 23, 2016), aff'd
                                  4   sub nom. Van v. Language Line Servs., Inc., 733 F. App'x 349 (9th Cir.
                                  5   2018) (citing Champion Produce, Inc. v. Ruby Robinson Co., 342 F.3d 1016,
                                  6   1026 (9th Cir. 2003).
                                  7
                                  8         Here, the Court agrees with Plaintiff that the Rule 68 offer was
                                  9    defectively served and therefore does not apply. Defendant’s counsel
                                 10    admits that he served the Rule 68 offer by sending it to Plaintiff’s counsel
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                                 11    via email, (Dkt. 17) which is insufficient to effect service. As courts have
                                 12    explained, “[s]ervice of a Rule 68 offer must comply with Federal Rule of
                                 13    Civil Procedure 5(b).” Van, 2016 WL 5339805, at *5. Rule 5(b) provides a
                                 14    number of ways service can be made, including by mail, or by “any other
                                 15    means that the person consented to in writing.” Fed. R. Civ. P. 5. Service
                                 16    by email is not an acceptable method, and there is no evidence here that
                                 17    Plaintiff ever consented to being served by email. Moreover, this is not
                                 18    one of the rare cases where Defendant has demonstrated “exceptional
                                 19    good cause” for having failed to comply with Rule 5(b). See Magnuson v.
                                 20    Video Yesteryear, 85 F.3d 1424, 1431 (9th Cir. 1996) (“We . . . require that
                                 21    a party demonstrate exceptional good cause for failing to comply with
                                 22    Rule 5(b)”).
                                 23
                                 24         Although Rule 68 is inapplicable in this case, the Court does agree
                                 25    with many of the arguments Defendant raises in Opposition—namely, that
                                 26    Plaintiff’s attorneys’ fees reflect excessive rates and unnecessary charges.

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                                  1     (Opp’n, at 4-10). Defendant makes a compelling argument that Plaintiff’s
                                  2     counsel chose not to settle, even when the requested relief was offered,
                                  3     because they were motivated by the opportunity to accrue more attorneys’
                                  4     fees. The Court addresses the concerns about Plaintiff’s attorneys’ fees
                                  5     below.
                                  6
                                  7     B. Attorneys’ Fees Analysis
                                  8         Plaintiff asserts that three attorneys—Mr. Hakimi, Mr. Shahriari, and
                                  9   Ms. Steven—expended a total of 19.3 hours on the case, amounting in
                                 10   attorneys’ fees of $9,350. (Declaration of Anoush Hakimi, “Declaration,” at
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                                 11   4). Plaintiff further estimates that two additional hours will likely be
                                 12   expended in reviewing Defendant’s opposition and drafting a reply. (Id.) Mr.
                                 13   Hakimi and Mr. Shahriari’s hourly billing rates are $495 each, and Ms.
                                 14   Steven’s hourly billing rate is $425. (Id. at 4-5). Plaintiff also seeks $672 in
                                 15   total costs, including filing fees of $402, process service fees of $30, and
                                 16   investigator fees of $240. (Motion, at 9). In total, Plaintiff is seeking
                                 17   $10,022 in attorneys’ fees and costs.
                                 18
                                 19          The Court first must determine whether or not the party seeking fees
                                 20   is the prevailing party. Fischer v. SJB-P.D., Inc., 214 F.3d 1115 (9th
                                 21   Cir.2000); Chabner v. United of Omaha Life Ins. Co., 1999 WL 33227443
                                 22   (N.D.Cal.1999). A plaintiff is the prevailing party when the “resolution of the
                                 23   dispute ... changes the legal relationship between itself and the defendant.”
                                 24   Tex. State Teachers Ass'n v. Garland Indep. Sch. Dist., 489 U.S. 782, 792
                                 25   (1989). In other words, “‘plaintiffs may be considered “prevailing parties” for
                                 26   attorney's fees purposes if they succeed on any significant issue in litigation

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                                  1   which achieves some of the benefit the parties sought in bringing suit.’”
                                  2   Farrar v. Hobby, 506 U.S. 103, 109 (1992) (quoting Hensley, 461 U.S. at
                                  3   433).
                                  4
                                  5           As established by the record, Plaintiff is the prevailing party in this
                                  6   case. Plaintiff achieved a Default Judgment against Defendant and
                                  7   obtained the injunctive relief sought in the Complaint.
                                  8
                                  9           Next, the Court determines whether or not the amount requested is a
                                 10   reasonable one. Fischer, 214 F.3d at 1115. “In determining a reasonable
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                                 11   attorney's fee, the district court's first step is to calculate a ‘lodestar’ by
                                 12   multiplying the number of hours it finds the prevailing party expended on the
                                 13   litigation by a reasonable hourly rate.” McGrath v. County of Nevada, 67
                                 14   F.3d 248, 252 (9th Cir.1995) (citing Hensley, 461 U.S. at 433). The Court
                                 15   then decides whether to increase or decrease the lodestar amount by
                                 16   evaluating the factors enunciated in Kerr v. Screen Extras Guild, Inc., 526
                                 17   F.2d 67, 70 (9th Cir.1975), cert. denied, 425 U.S. 951 (1976).
                                 18
                                 19           The Kerr factors are: time and labor required; the novelty and difficulty
                                 20   of the questions involved; the skill needed to perform the legal service
                                 21   properly; the preclusion of other employment by the attorney due to
                                 22   acceptance of the case; the customary fee; whether the fee is fixed or
                                 23   contingent; time limitations imposed by the client or the circumstances; the
                                 24   amount involved and the results obtained; the experience, reputation, and
                                 25   ability of the attorney; the “undesirability” of the case; the nature and length
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                                  1   of the professional relationship with the client; and awards in similar cases.
                                  2   Id.
                                  3     C. Reasonable Hourly Rate
                                  4         Declarations from local attorneys who practice in the same area of
                                  5   law regarding the prevailing market rate in the community suffice to
                                  6   establish a reasonable hourly rate. See Widrig v. Apfel, 140 F.3d 1207,
                                  7   1209-10 (9th Cir. 1998); Guam Soc’y of Obstetricians & Gynecologists v.
                                  8   Ada, 100 F.3d 691, 696 (9th Cir. 1996) (noting that declarations from
                                  9   attorneys in the community can provide adequate proof of the
                                 10   reasonableness of counsel’s rates). The “[d]etermination of a reasonable
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                                 11   hourly rate is not made by reference to rates actually charged.” Chalmers,
                                 12   796 F.2d at 1210.
                                 13
                                 14         The Court has reviewed the declaration of the attorney attached to
                                 15   the Motion. Plaintiff’s counsel did not submit credible evidence to support
                                 16   the hourly rate sought, such as a declaration from an attorney with expertise
                                 17   in attorney’s fees. Plaintiff’s counsel instead submitted a 2018 Real Rate
                                 18   Report, which presents highly generalized data about the median hourly
                                 19   rates for partners and associates in Los Angeles, California. The law firm’s
                                 20   Rate Report does not specifically relate to the type of work being done in
                                 21   Los Angeles in this field, and the Court does not find it to be a persuasive
                                 22   source to determine the hourly rates in this case.
                                 23
                                 24         As the Ninth Circuit has emphasized, “district courts have a duty to
                                 25   ensure that claims for attorneys' fees are reasonable, and a district court
                                 26   does not discharge that duty simply by taking at face value the word of the

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                                  1   prevailing party's lawyer for the number of hours expended on the case.”
                                  2   Vogel, 893 F.3d at 1160 (emphasis in original) (internal quotations and
                                  3   citations omitted). Moreover, the Court may “rely[] on [its] own knowledge of
                                  4   customary rates and [its] experience concerning reasonable and proper
                                  5   fees.” Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011). See, e.g.,
                                  6   Wild v. NBC Universal, No. CV103615 GAF (AJWx), 2011 WL 12877031, at
                                  7   *3 (C.D. Cal. July 18, 2011) (holding “that the hourly rates charged by these
                                  8   attorneys fall within the range of rates charged by similarly situated
                                  9   attorneys in the Los Angeles area” because “[t]he Court has addressed
                                 10   numerous attorneys' fees motions and is thoroughly familiar with billing rates
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                                 11   charged by counsel in the local legal market”). The Court employs its
                                 12   discretion to determine the reasonable rates here.
                                 13
                                 14         Considering the rate prevailing in the community for similar work
                                 15   performed by attorneys of comparable skill, experience, and reputation, the
                                 16   Court finds a reasonable hourly rate for Mr. Hakimi, Mr. Shahriari, and Ms.
                                 17   Steven is $350 per hour.
                                 18
                                 19     D. Reasonable Hours
                                 20         Once a party has established that it is entitled to an award of
                                 21   attorneys’ fees, “[i]t remains for the district court to determine what fee is
                                 22   reasonable.” Hensley, 461 U.S. at 433 (internal quotation marks omitted).
                                 23   A court may award fees only for the number of hours it concludes were
                                 24   reasonably expended litigating the case. “Counsel for the prevailing party
                                 25   should make a good faith effort to exclude from a fee request hours that are
                                 26   excessive, redundant, or otherwise unnecessary, just as a lawyer in private

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                                  1   practice ethically is obligated to exclude such hours from his fee
                                  2   submission.” Id. at 434. At the outset, “[t]he fee applicant bears the burden
                                  3   of documenting the appropriate hours expended in litigation and must
                                  4   submit evidence in support of those hours worked.” Gates v. Deukmejian,
                                  5   987 F.2d 1392, 1397 (9th Cir. 1992).
                                  6
                                  7          In determining a reasonable number of hours, the Court must
                                  8   examine detailed time records to determine whether the hours claimed are
                                  9   adequately documented. Chalmers, 796 F.2d at 1210 (citing Hensley, 461
                                 10   U.S. at 433-34). Plaintiff’s counsel has provided an organized billing
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                                 11   statement that details a date, description, attorney, time, hourly rate, and
                                 12   dollar amount for each entry. (Dkt. 28-4). The billing statement reflects 19.3
                                 13   total billable hours and $9,350 total billable fees. (Id.) The Court has
                                 14   reviewed every billing entry in Plaintiff’s statement and eliminated the fees
                                 15   requested by Plaintiff for (1) tasks on which excessive time was spent, (2)
                                 16   unnecessary, excessive, or duplicative entries, and (3) hours where the
                                 17   description is insufficiently clear.
                                 18
                                 19          A sizable portion of Plaintiff’s counsel’s billing entries sought fees for
                                 20   duplicative work and excessive time. Indeed, Plaintiff’s counsel has billed
                                 21   for three attorneys on a case that resulted in a default judgment on the
                                 22   original complaint. Plaintiff’s counsel also has inflated the amount of time
                                 23   necessary to complete routine litigation tasks. For example, Plaintiff’s
                                 24   counsel billed 3.8 hours to, in part, “review work product of investigator and
                                 25   prepare complaint”; another 1.1 hours to “review complaint” and “review
                                 26   property records,” and another 1.7 hours to “finalize” the complaint and file

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                                  1   lawsuit. (Dkt. 28-4, at 3). The Court finds that these three tasks are
                                  2   duplicative and excessively billed for filing what is clearly a form complaint.
                                  3   Moreover, Plaintiff’s counsel appears to have inappropriately billed for tasks
                                  4   that are clerical in nature, i.e., billing .1 hours to “review and file proof of
                                  5   service.” (Id.).
                                  6
                                  7          After reducing excessive and unnecessary billings, and incorporating
                                  8   the revised hourly rate, the “presumptively reasonable” lodestar amounts for
                                  9   Plaintiff’s counsel are as follows. See Jordan v. Multnomah Cnty., 815 F.2d
                                 10   1258, 1262 (9th Cir. 1987).
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                                 11
                                 12                                 Hourly             Hours               Lodestar
                                 13                             Rate                Expended
                                 14        Anoush Hakimi            $350               2.9                 $1,015
                                 15        Peter Shahriari          $350               2.7                 $945
                                 16        Laura Steven             $350               .7                  $245
                                 17        Total: $2,205
                                 18
                                 19     E. Kerr Factors
                                 20          There is a strong presumption that the lodestar figure represents a
                                 21   reasonable fee. Jordan v. Multnomah County, 815 F.2d at 1262 (citing
                                 22   Pennsylvania v. Delaware Valley Citizens' Council for Clean Air, 478 U.S.
                                 23   546, 565 (1986)). An upward adjustment of the lodestar is appropriate only
                                 24   in extraordinary cases, such as when the attorneys faced exceptional risks
                                 25   of not prevailing or not recovering any fees. Chalmers, 796 F.2d at 1212.
                                 26

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                                  1   See also Blum, 465 U.S. at 903 (Brennan, J., concurring); Hensley, 461
                                  2   U.S. at 448 (Brennan, J., concurring in part, dissenting in part).
                                  3
                                  4         Although the court must consider the Kerr factors, it need not discuss
                                  5   all of them “because most are not matters on which anything is at issue or
                                  6   needs to be said,” McGinnis v. Ky. Fried Chicken of Cal., 51 F.3d 805, 809
                                  7   (9th Cir. 1994), and many of the Kerr factors are subsumed within the
                                  8   lodestar calculation, see Jordan v. Multnomah County, 815 F.2d at 1262.
                                  9   The Court nevertheless discusses the Kerr factors below.
                                 10
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                                 11         As stated above, the Kerr factors are: time and labor required; the
                                 12   novelty and difficulty of the questions involved; the skill needed to perform
                                 13   the legal service properly; the preclusion of other employment by the
                                 14   attorney due to acceptance of the case; the customary fee, whether the fee
                                 15   is fixed or contingent; time limitations imposed by the client or the
                                 16   circumstances; the amount involved and the results obtained; the
                                 17   experience, reputation, and ability of the attorney; the “undesirability” of the
                                 18   case; the nature and length of the professional relationship with the client;
                                 19   and awards in similar cases. Kerr, 526 F.2d 67.
                                 20
                                 21         Plaintiff’s counsel does not argue that it should be awarded fees
                                 22   above the lodestar amount, nor does it provide any support for such a
                                 23   request. As discussed above, this case did not require the services of three
                                 24   lawyers performing duplicative work and spending almost twenty hours on
                                 25   routine tasks. Nor did this case address particularly novel or difficult
                                 26

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                                  1   questions. In fact, it appears to be a straightforward ADA case that does not
                                  2   raise novel legal issues.
                                  3
                                  4           Indeed, Plaintiff submitted little more than a Complaint, an Application
                                  5   for Default Judgment, and this Motion for Attorney’s Fees throughout the
                                  6   history of the entire proceedings. The nature of the case and Plaintiff’s
                                  7   minimal work product do not justify a basis for an upward departure from the
                                  8   lodestar.
                                  9
                                 10     F.    Reasonable Costs
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                                 11           Finally, Plaintiff’s counsel requested $672 for costs and expenses,
                                 12   including a filing fee, service fee, and investigator’s fee. (Dkt. 26-1, at 9).
                                 13   The Court has reviewed the cost breakdown and found it to be reasonable.
                                 14   The Court will award $672 for costs and expenses.
                                 15
                                 16   IV.     CONCLUSION
                                 17           The Court therefore GRANTS Plaintiff’s Motion for Attorneys’ Fees IN
                                 18   PART. The Court awards Plaintiff’s counsel $2,205 in fees and $672 in
                                 19   reasonable costs.
                                 20
                                 21   IT IS SO ORDERED.
                                 22
                                 23         Dated:    12/9/21
                                 24                                                          Virginia A. Phillips
                                                                                        United States District Judge
                                 25
                                 26

                                                                              12
